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                              UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK




STATE OF NEW YORK; STATE OF ARIZONA,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF CONNECTICUT,
STATE OF DELAWARE, STATE OF HAWAII,
STATE OF ILLINOIS, STATE OF MAINE,
STATE OF MARYLAND, COMMONWEALTH                                   25-cv-01144
                                                       C.A. No. --------
OF MASSACHUSETTS, STATE OF
MINNESOTA, STATE OF NEVADA, STATE OF                   AFFIDAVIT IN SUPPORT OF
NEW JERSEY, STATE OF NORTH CAROLINA,                   MOTION TO ADMIT COUNSEL
STATE OF OREGON, STATE OF RHODE                        PROHACVICE
ISLAND, STATE OF VERMONT, and STATE OF
WISCONSIN,

               Plaintiffs,

       V.


DONALD J. TRUMP, IN HIS OFFICIAL
CAPACITY AS PRESIDENT OF THE UNITED
STATES; U.S. DEPARTMENT OF THE
TREASURY; and SCOTT BESSENT, IN HIS
OFFICIAL CAPACITY AS SECRETARY OF U.S.
DEPARTMENT OF THE TREASURY,

              Defendants.




I, Elizabeth Kramer, being duly sworn, hereby depose and say as follows:

   1. I am Solicitor General of the State of Minnesota, with the Office of Minnesota Attorney

General Keith Ellison.

   2. I submit this affidavit in support of my motion for admission to practice pro hac vice in

the above-captioned matter.
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    3. As shown in the Certificate of Good Standing annexed hereto, I am a member in good

standing of the bar of the state of Minnesota.

   4. There are no pending disciplinary proceedings against me in any state or federal court.

    5. I have never been convicted of a felony.

   6. I have never been censured, suspended, disbarred or denied admission or readmission by

any court.

   7. Wherefore, your affiant respectfully submits that she be permitted to appear as counsel

and advocate pro hac vice in the above captioned case in the United States District Court for the

Southern District of New York for Plaintiff State of Minnesota.




Date: ---------                                        senors«roe,
                                                      Office of Minnesota Attorney General
                                                      445 Minnesota St., Ste. 600
NOTARIZED                                             liz.kramer@ag.state.mn.us
                                                      (651) 757-1010

               PAMELA JEAN HEWITT
                   NOTARY PUBLIC
                     MINNESOTA
             My Commission Expires Jan. 31, 2027
